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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION

   JENNA CLARK,

         Plaintiff,
                                                     Case No. 2:22-cv-614-SPC-NPM
   v.

   CARMINE MARCENO, in his official
   capacity as Sheriff of Lee County,
   Florida,

         Defendant.
   _________________________________/

                                      EXHIBIT INDEX

        NUMBER                                         TITLE


         33-1         February 29, 2024, Affidavit of Plaintiff with exhibits (1-5)


                      Transcript and exhibits from October 10, 2023, Rule 30(b)(6)
         33-2
                      deposition of Undersheriff John Holloway

                      Transcript and exhibits from the October 10, 2023, deposition
         33-3
                      of Undersheriff John Holloway as fact witness

                      Transcript and exhibits from the October 24, 2023, deposition
         33-4
                      of Annmarie Reno

                      Transcript and exhibits from the October 11, 2023, deposition of Dawn
         33-5
                      Heikkila as fact witness

                      Transcript and exhibits from the October 11, 2023, Rule 30(b)(6)
         33-6
                      deposition of Dawn Heikkila




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                 Transcript and exhibits from the December 7, 2023, deposition of
         33-7
                 Plaintiff


         33-8    RIF letter dated August 15, 2021, from Defendant to Plaintiff


         33-9    Defendant’s list of employees allegedly terminated during RIF


                 August 12, 2021, FMLA email exchange between Dawn Heikkila
        33-10
                 and Plaintiff


        33-11    August 19, 2021, reprimand from Annmarie Reno


                 Defendant’s October 2020 Purchasing Workload Assessment and Staff
        33-12
                 Inspection


        33-13    Defendant’s Responses to Plaintiff’s First Request for Admissions


        33-14    Defendant’s Responses to Plaintiff’s First Set of Interrogatories


        33-15    Defendant’s EEOC Position Statement


        33-16    Exhibit Index




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                             CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing document

  is being served on February 29, 2024, on all counsel of record on the service list below

  via CM/ECF.


                                                 By: /s/ Kyle T. MacDonald
                                                    Kyle T. MacDonald, Esq.



                                     SERVICE LIST

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